            Case MDL No. 2326 Document 54 Filed 02/07/12 Page 1 of 14




                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION                                                                  MDL No. 2325

IN RE: BOSTON SCIENTIFIC CORP.
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION                                                                  MDL No. 2326

IN RE: ETHICON, INC., PELVIC
REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION                                                                  MDL No. 2327


                                       TRANSFER ORDER


         Before the Panel:* Before the Panel are three dockets involving allegations of defects in
various models of pelvic surgical mesh products manufactured by three groups of manufacturers.1
Plaintiffs in almost twenty actions before the Panel have moved pursuant to 28 U.S.C. § 1407, to
centralize all MDL No. 2325, MDL No. 2326, and MDL No. 2327 actions in the Southern District
of West Virginia. In MDL No. 2325, defendant AMS has moved to centralize the MDL No. 2325
actions in the District of Minnesota or, alternatively, if the Panel deems centralization of three MDLs
to be appropriate, suggests the Southern District of West Virginia as transferee district. This
litigation currently consists of approximately150 actions spread across the country,2 as listed on the
attached schedules. The Panel has been notified of numerous additional potentially related actions.3



       *
               Judge W. Royal Furgeson, Jr. took no part in the decision of this matter.
       1
              American Medical Systems, Inc. and related entities (AMS); Boston Scientific Corp.
(Boston Scientific); and Ethicon, Inc., Johnson & Johnson, and related entities (Ethicon).
       2
                Two additional actions were included in the MDL No. 2325 motion, and a third action
was included in the motions to centralize MDL Nos. 2325 and 2327, but they have each been
remanded to state court or voluntarily dismissed. An additional unrelated action inadvertently was
included in the MDL No. 2327 Section 1407 motion, but movants have withdrawn that action from
consideration on the motion.
       3
                These actions and any other related actions are potential tag-along actions. See Rules
1.1(h), 7.1, and 7.2.
            Case MDL No. 2326 Document 54 Filed 02/07/12 Page 2 of 14




                                                 -2-

        Plaintiffs in over 100 actions and potentially related actions support centralization of all
actions in the Southern District of West Virginia. Responding plaintiffs, alternatively or in the first
instance, also have suggested other transferee districts for one or more of these MDLs, including the
Eastern District of Louisiana, the Western District of Louisiana, the Eastern District of Pennsylvania,
and the Northern District of California. Plaintiff in the District of New Jersey Bienstock action
opposes centralization, and plaintiffs in the District of Nevada Erwin action request the Panel defer
transferring their case until their motion for remand to state court is decided, but concede that if
remand is denied, transfer is appropriate. Defendant Boston Scientific suggests centralization of the
MDL No. 2326 actions in the Western District of Oklahoma or, if the Panel deems centralization of
three MDLs in one district to be appropriate, supports the Southern District of West Virginia as
transferee district. Defendant Ethicon suggests centralization of only the MDL No. 2327 actions in
the District of New Jersey or, alternatively, the Northern District of Georgia.

        Almost all parties agree that centralization of each of these separate MDLs is appropriate.
The actions in each MDL share factual issues arising from allegations of defects in pelvic surgical
mesh products manufactured by AMS, Boston Scientific, and Ethicon, respectively. Centralization
therefore will eliminate duplicative discovery; prevent inconsistent pretrial rulings; and conserve the
resources of the parties, their counsel and the judiciary. Moreover, centralization of each litigation
is consistent with our decisions in In re Mentor Corp. ObTape Transobturator Sling Products
Liability Litigation, MDL No. 2004, 588 F.Supp.2d 1374 (J.P.M.L. 2008); and In re Avaulta Pelvic
Support Systems Products Liability Litigation, MDL No. 2187, 746 F.Supp.2d 1362 (J.P.M.L.
2010).

         The central dispute among the parties is where each MDL should proceed. Most plaintiffs
argue in favor of three MDLs proceeding in one district; namely, the Southern District of West
Virginia. Defendants prefer centralization of each litigation in separate districts. We are persuaded
that the Southern District of West Virginia is the most appropriate transferee forum for each of these
MDLs. Chief Judge Joseph R. Goodwin of that district is currently presiding over MDL No. 2187,
which involves claims of defects in similar pelvic surgical mesh products, and is uniquely situated to
preside over the similar claims in these three MDLs. The pelvic surgical mesh products at issue in
MDL Nos. 2325, 2326, and 2327 are used to treat similar conditions as those at issue in MDL No.
2187, and they have allegedly resulted in similar injuries. Almost all responding plaintiffs support
centralization in this district, and defendants AMS and Boston Scientific concede that the Southern
District of West Virginia is an appropriate transferee district. Finally, a number of these actions are
brought by plaintiffs who were implanted with multiple products made by multiple manufacturers.
Centralization of the three MDLs in one court will allow for coordination of any overlapping issues
of fact in such multi-product, multi-defendant actions.4




       4
               The Panel has determined in consultation with the transferee judge to transfer actions
involving multiple manufacturer defendants to the MDL involving the first named defendant in that
action.
            Case MDL No. 2326 Document 54 Filed 02/07/12 Page 3 of 14




                                                 -3-

        We will not delay transfer of the District of Nevada Erwin action. Plaintiffs can present their
motion for remand to state court to the transferee court. See, e.g., In re Ivy, 901 F.2d 7 (2nd Cir.
1990); In re Prudential Insurance Company of America Sales Practices Litigation, 170 F.Supp.2d
1346, 1347-48 (J.P.M.L. 2001). We similarly decline to exclude the District of New Jersey Bienstock
action from MDL No. 2327, as it shares questions of fact with the actions in that MDL and does not
appear to be so far advanced that it would not benefit from centralized proceedings.

          We decline to include three of the actions listed on the MDL No. 2325 motion in centralized
proceedings, as listed on Schedule B. After the motions to centralize were filed, plaintiffs in the
District of Minnesota Flight action amended their complaint to bring claims only against an unrelated
manufacturer. AMS is no longer named in this action and, therefore, it appears that it does not
belong in MDL No. 2325. Additionally, the Southern District of West Virginia Culbertson action
that was included in the initial motion for centralization in MDL No. 2325 is currently a part of MDL
No. 2187, as it involves claims against C.R. Bard, Inc. (Bard). In transferring the claims against Bard
in October 2011, the Panel separated and remanded claims against AMS to the District of South
Carolina. The claims involving AMS, therefore, are still pending in the District of South Carolina,
not in the Southern District of West Virginia. We have determined, however, that it is beneficial in
this litigation for a particular action involving claims against multiple manufacturers to remain whole
and proceed as one action. Therefore, the Panel will place the remaining claims in the District of
South Carolina Culbertson action on a conditional transfer order for MDL No. 2187 in due course.
Finally, the Western District of Louisiana Waldroup action, which names Boston Scientific as its first
defendant, is included in the MDL No. 2325 motion for centralization but not on the MDL No. 2326
motion for centralization. As we have determined to transfer such multi-product, multi-defendant
actions to the MDL involving the first named defendant, the Panel will not transfer this action with
the present order, but will instead place the action on a conditional transfer order in MDL No. 2326.

       On the basis of the papers filed and hearing session held we find that the actions contained in
each MDL involve common questions of fact, and that centralization of each of MDL No. 2325, 2326
and 2327 in the Southern District of West Virginia will serve the convenience of the parties and
witnesses and promote the just and efficient conduct of this litigation.

      IT IS THEREFORE ORDERED that the motions for centralization of MDL No. 2325, MDL
No. 2326, and MDL No. 2327 in the Southern District of West Virginia are granted.

        IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule A, encompassing MDL No. 2325 actions involving AMS, are transferred to the Southern
District of West Virginia and, with the consent of that court, assigned to the Honorable Joseph R.
Goodwin for coordinated or consolidated pretrial proceedings.

      IT IS FURTHER ORDERED that transfer under Section 1407 of the three actions listed on
Schedule B is denied.
           Case MDL No. 2326 Document 54 Filed 02/07/12 Page 4 of 14




                                               -4-

       IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule C, encompassing MDL No. 2326 actions involving Boston Scientific, are transferred to the
Southern District of West Virginia and, with the consent of that court, assigned to the Honorable
Joseph R. Goodwin for coordinated or consolidated pretrial proceedings.

        IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule D, encompassing MDL No. 2327 actions involving Ethicon, are transferred to the Southern
District of West Virginia and, with the consent of that court, assigned to the Honorable Joseph R.
Goodwin for coordinated or consolidated pretrial proceedings.


                                     PANEL ON MULTIDISTRICT LITIGATION




                                     _________________________________________
                                                   John G. Heyburn II
                                                        Chairman

                                     Kathryn H. Vratil             Barbara S. Jones
                                     Paul J. Barbadoro             Marjorie O. Rendell
                                     Charles R. Breyer
         Case MDL No. 2326 Document 54 Filed 02/07/12 Page 5 of 14




IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION                                                          MDL No. 2325


                                       SCHEDULE A


            Northern District of Alabama

     Shannon Farr, et al. v. American Medical Systems, Inc., et al., C.A. No. 5:11-02767

            District of Arizona

     Kaylin Oldfather v. American Medical Systems, Inc., C.A. No. 2:11-02022

            Central District of California

     Jill Engledow v. Mentor Corporation, et al., C.A. No. 2:11-07391
     Susan Galbreath, et al. v. Steve Seung Yil Koh, M.D., et al., C.A. No. 2:11-08387

            Northern District of California

     Ellen Ambroff, et al. v. American Medical Systems, Inc., C.A. No. 3:08-04289
     Shellie Hill, et al. v. American Medical Systems, Inc., C.A. No. 3:11-04610
     Judy Anna Winegardner, et al. v. American Medical Systems, Inc., C.A. No. 3:11-04611
     Iona Metcalf, et al. v. American Medical Systems, Inc., C.A. No. 3:11-04612
     Jenelle Hoover, et al. v. American Medical Systems, Inc., C.A. No. 3:11-04614
     Kathleen Nichols-Gould, et al. v. American Medical Systems, Inc., C.A. No. 3:11-04616
     Vicki Gray v. American Medical Systems, Inc., C.A. No. 3:11-04668
     Kathleen Schmidt, et al. v. American Medical Systems, Inc., C.A. No. 3:11-04670
     Francine Baia, et al. v. American Medical Systems, Inc., C.A. No. 3:11-04671
     Summer Abrego v. American Medical Systems, Inc., C.A. No. 3:11-04672
     Carole Chenoweth v. American Medical Systems, Inc., C.A. No. 3:11-05145
     Patricia Hendricksen v. American Medical Systems, Inc., C.A. No. 3:11-05146
     Sherry Maloney v. American Medical Systems, Inc., C.A. No. 3:11-05312
     Lisa Roddy, et al. v. American Medical Systems, Inc., C.A. No. 4:11-03970
     Michelle Arsenault v. American Medical Systems, Inc., C.A. No. 4:11-04343
     Susan Petkovich, et al. v. American Medical Systems, Inc., C.A. No. 4:11-04613
     Letitia Greene-Newton, et al. v. American Medical Systems, Inc. C.A. No. 4:11-04615
     Veda Lester v. American Medical Systems, Inc., C.A. No. 4:11-04669
     April Stevens v. American Medical Systems, Inc., C.A. No. 4:11-05143
     Joette Boone, et al. v. American Medical Systems, Inc., et al., C.A. No. 4:11-05144
     Cindy Wyatt, et al. v. American Medical Systems, Inc., C.A. No. 4:11-05147
     Jan Glisson, et al. v. American Medical Systems, Inc., C.A. No. 5:11-04945
     Ramona Foley, et al. v. American Medical Systems, Inc., C.A. No. 5:11-05014
          Case MDL No. 2326 Document 54 Filed 02/07/12 Page 6 of 14




                                                -2-


MDL No. 2325 Schedule A (Continued)


             District of Delaware

      Cathy Hoppe v. American Medical Systems, Inc., et al., C.A. No. 1:11-01012

             District of District of Columbia

      Deborah Tedford v. American Medical Systems, Inc., C.A. No. 1:11-01472

             Northern District of Florida

      Carolyn Finlay v. American Medical Systems, Inc., C.A. No. 3:11-00507

             Northern District of Georgia

      Kimberly Williams v. American Medical Systems, Inc., et al., C.A. No. 1:11-02782
      Cynthia Daniel, et al. v. American Medical Systems, Inc., C.A. No. 1:11-03261
      Holly Johnson, et al. v. American Medical Systems, Inc., C.A. No. 1:11-03925
      Patricia Ledford, et al. v. American Medical Systems, Inc., C.A. No. 1:11-03926
      Lynn Pope, et al. v. American Medical Systems, Inc., C.A. No. 1:11-03928
      Laurie Schultz v. American Medical Systems, Inc., C.A. No. 1:11-03929
      Sonya Waren, et al. v. American Medical Systems, Inc., C.A. No. 2:11-00310
      Tammy Powell, et al. v. American Medical Systems, Inc., C.A. No. 3:11-00159
      Maritza Reneau, et al. v. American Medical Systems, Inc., C.A. No. 3:11-00180

             Western District of Louisiana

      Patsy J. Brandao, et al. v. American Medical Systems Holdings Inc., et al.,
        C.A. No. 5:11-01767
      JoAnn B. Pickard v. American Medical Systems Inc., et al., C.A. No. 5:11-01845

             District of Maryland

      Robin Dahl v. American Medical Systems, Inc., C.A. No. 1:11-02925

             District of Minnesota

      Amy Wells, et al. v. American Medical Systems, Inc., C.A. No. 0:11-02141
      Bobbie Fearn, et al. v. American Medical Systems, Inc., C.A. No. 0:11-02502
      JoAnn Hill v. American Medical Systems, Inc., C.A. No. 0:11-02589
          Case MDL No. 2326 Document 54 Filed 02/07/12 Page 7 of 14




                                            -3-


MDL No. 2325 Schedule A (Continued)


             District of Nevada

      Carol S. Austin-Fink v. American Medical Systems, Inc., C.A. No. 2:09-01981
      Connie Erwin, et al. v. American Medical Systems, Inc., et al., C.A. No. 2:11-01475
      Debra Grumbles v. American Medical Systems, Inc., C.A. No. 2:11-01582

             Middle District of North Carolina

      Tamara Tucker, et al. v. American Medical Systems, Inc., et al., C.A. No. 1:11-00974

             Western District of Oklahoma

      Lisa Berry v. American Medical Systems, Inc., et al., C.A. No. 5:11-00748
      Tina Gordon v. American Medical Systems Holdings Inc., et al., C.A. No. 5:11-01259
      Jennifer Gaines, et al. v. American Medical Systems, Inc., C.A. No. 5:11-01299

             Eastern District of Pennsylvania

      Paulette Lewis v. American Medical Systems, Inc., C.A. No. 2:11-05445
      Kathleen Craig, et al. v. American Medical Systems, Inc., C.A. No. 2:11-05462
      Linda Osman, et al. v. American Medical Systems, Inc., C.A. No. 2:11-05465
      Helga White v. American Medical Systems, Inc., et al., C.A. No. 2:11-05520
      Jennifer Heiser v. Endo Pharmaceuticals, C.A. No. 2:11-06651
      Maggie McEwan, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06652
      Kathleen Kenton, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06653
      Bernella Meche v. Endo Pharmaceuticals, C.A. No. 2:11-06654
      Holli Allen, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06655
      Mary Howard, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06656
      Joann Cosma, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06657
      Evelyn Bonilla, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06658
      Jane Mixon, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06659
      Helen Reaves v. Endo Pharmaceuticals, C.A. No. 2:11-06660
      Mary Smith, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06661
      Joann Fosbenner, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06662
      Marie Quigley, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06663
      April Perdue, et al. v. Endo Pharmaceuticals, C.A. No. 2:11-06664
      Valinda Aumiller v. Endo Pharmaceuticals, et al., C.A. No. 2:11-06804
      Gina Kolar v. Endo Pharmaceuticals, et al., C.A. No. 2:11-06805

                                            -4-
          Case MDL No. 2326 Document 54 Filed 02/07/12 Page 8 of 14




MDL No. 2325 Schedule A (Continued)


              Eastern District of Pennsylvania (Continued)

      Candace Lyons v. Endo Pharmaceuticals, et al., C.A. No. 2:11-06806
      Gearal Moneypenny, et al. v. Endo Pharmaceuticals, et al., C.A. No. 2:11-06807
      Susan Cox v. Endo Pharmaceuticals, et al., C.A. No. 2:11-06808
      Katherine Simmons v. Endo Pharmaceuticals, et al., C.A. No. 2:11-06809
      Kaci Mitchell v. Endo Pharmaceuticals, C.A. No. 2:11-07131
      Joycebeth Stoutamire v. Endo Pharmaceuticals, C.A. No. 2:11-07134
      Gidget Crossett v. Endo Pharmaceuticals, C.A. No. 2:11-07135

              Western District of Texas

      Sandra Colon v. American Medical Systems, Inc., C.A. No. 1:11-00872

              District of Utah

      Jeanne Kramer, et al. v. American Medical Systems, Inc., C.A. No. 2:11-01004

              Western District of Washington

      Diane Horton, et al. v. American Medical Systems, Inc., et al., C.A. No. 3:11-05780

              Southern District of West Virginia

      Jessica Swaim, et al. v. American Medical Systems, Inc., et al., C.A. No. 2:11-00827
      Virginia Johnson, et al. v. American Medical Systems, Inc., C.A. No. 2:11-00933
         Case MDL No. 2326 Document 54 Filed 02/07/12 Page 9 of 14




IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION                                                              MDL No. 2325


                                SCHEDULE B
                   ACTIONS FOR WHICH TRANSFER IS DENIED


             Western District of Louisiana

     Bette G. Waldroup, et al. v. Boston Scientific Corp., et al., C.A. No. 3:11-01854

             District of Minnesota

     Marsha Flight, et al. v. American Medical Systems, Inc., et al., C.A. No. 0:11-01761

             Southern District of West Virginia

     Fronde Culbertson, et al. v. C. R. Bard, Inc., et al., C.A. No. 2:11-00796
        Case MDL No. 2326 Document 54 Filed 02/07/12 Page 10 of 14




IN RE: BOSTON SCIENTIFIC CORP.
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION                                                            MDL No. 2326


                                       SCHEDULE C


             Middle District of Alabama

     Kimberly Barber, et al. v. Boston Scientific Corp., C.A. No. 2:11-00952

             Northern District of Alabama

     Anna Buchanan, et al. v. Boston Scientific Corp., C.A. No. 2:11-03946
     Mary Nalley, et al. v. Boston Scientific Corp., C.A. No. 4:11-03521
     Ava Kirkpatrick v. Boston Scientific Corp., C.A. No. 5:11-03759

             District of Arizona

     Catherine A. Avent v. Boston Scientific Corp., C.A. No. 2:11-02280

             Central District of California

     Sherry Herkal v. Boston Scientific Corp., et al., C.A. No. 2:11-08678

             Northern District of California

     Michelle Spence, et al. v. Boston Scientific Corp., C.A. No. 3:11-04961

             Southern District of Florida

     Marta Iglesias, et al. v. Boston Scientific Corp., C.A. No. 1:11-24263

             Northern District of Georgia

     Tami Goodson v. Boston Scientific Corp., C.A. No. 1:11-03023
     Geraldine Bailey, et al. v. Boston Scientific Corp., C.A. No. 1:11-03981
     Nicole Preston, et al. v. Boston Scientific Corp., C.A. No. 1:11-03982

             Western District of Louisiana

     Minnie V. Mann v. Boston Scientific Corp., C.A. No. 3:11-01785
     Anita M. Jolly, et al. v. Boston Scientific Corp., C.A. No. 3:11-01871
     Amanda Powell, et al. v. Boston Scientific Corp., C.A. No. 3:11-01876
         Case MDL No. 2326 Document 54 Filed 02/07/12 Page 11 of 14




                                            -2-


MDL No. 2326 Schedule C (Continued)


             Western District of Louisiana (Continued)

      Nancy K. Williams v. Boston Scientific Corp., et al., C.A. No. 3:11-01938
      Karen S. Weller v. Boston Scientific Corp., C.A. No. 5:11-01696

             Western District of North Carolina

      Patsy Meadows, et al. v. Boston Scientific Corp., C.A. No. 5:11-00143

             Western District of Oklahoma

      Terre Hammonds v. Boston Scientific, Inc., C.A. No. 5:11-00663

             District of South Carolina

      Donna Beatty, et al. v. Boston Scientific Corp., C.A. No. 2:11-03147
      Lisa Daniels v. Boston Scientific Corp., C.A. No. 3:11-02849

             Middle District of Tennessee

      Tammy L. Kennamore v. Boston Scientific Corp., C.A. No. 3:11-01064

             Western District of Texas

      Leona Webb, et al. v. Boston Scientific Corp., C.A. No. 1:11-00873 )

             Southern District of West Virginia

      Brenda Moyer, et al. v. Boston Scientific Corp., C.A. No. 2:11-00810
        Case MDL No. 2326 Document 54 Filed 02/07/12 Page 12 of 14




IN RE: ETHICON, INC., PELVIC
REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION                                                             MDL No. 2327


                                       SCHEDULE D


             Northern District of Florida

     Barbara Dykes v. Ethicon, Inc., et al., C.A. No. 3:11-00564

             Southern District of Florida

     Susan Thaman, et al. v. Ethicon, Inc., C.A. No. 2:11-14390

             Middle District of Georgia

     Amy Holland, et al. v. Johnson & Johnson, et al., C.A. No. 3:11-00135
     Carrie Smith v. Ethicon, Inc., et al., C.A. No. 5:11-00467

             Northern District of Georgia

     Iris Geraldine Carr, et al. v. Ethicon, Inc., et al., C.A. No. 1:11-02217
     Cathy Warlick, et al. v. Ethicon, Inc., et al., C.A. No. 1:11-02758
     Doris Jackson v. Johnson & Johnson, et al., C.A. No. 1:11-03903
     Quillan Garnett, et al. v. Johnson & Johnson, et al., C.A. No. 1:11-03904
     Kathy Barton v. Gynecare, Inc., et al., C.A. No. 3:11-00176

             Southern District of Georgia

     Mary Luellen Kilday, et al. v. Johnson & Johnson, et al., C.A. No. 4:11-00286
     Janice Swaney v. Johnson & Johnson, et al., C.A. No.4:11-00287
     Mary F. Cone v. Ethicon, Inc., et al., C.A. No. 5:11-00110

             District of Kansas

     Joy Essman, et al. v. Ethicon, Inc., et al., C.A. No. 2:11-02595

             Eastern District of Louisiana

     Linda B. Ryan v. Johnson & Johnson, Inc., et al., C.A. No. 2:11-02751

             Western District of Louisiana

     Teri Key Shively, et al. v. Johnson & Johnson, et al., C.A. No. 3:11-00362
     Terrie S. Gregory, et al. v. Johnson & Johnson Inc., et al., C.A. No. 3:11-01768
         Case MDL No. 2326 Document 54 Filed 02/07/12 Page 13 of 14




                                              -2-


MDL No. 2327 Schedule A (Continued)


              Western District of Louisiana (Continued)

      Tina Morrow, et al. v. Johnson & Johnson Inc., et al., C.A. No. 3:11-01866
      Susan C. Hayes, et al. v. Johnson & Johnson Inc., et al., C.A. No. 3:11-01897
      Charlene Logan Taylor v. Johnson & Johnson Inc., et al., C.A. No. 5:11-01894
      Shirley Carroll, et al. v. Johnson & Johnson Inc., et al., C.A. No. 5:11-01937

              Southern District of Mississippi

      Polly Middlebrook v. Ethicon, Inc., C.A. No. 4:11-00169

              Western District of Missouri

      Sandra L. Woolfe v. Ethicon, Inc., et al., C.A. No. 4:11-01040

              District of New Jersey

      Caryn Bienstock v. Ethicon, Inc., et al., C.A. No. 3:11-04080

              Northern District of New York

      Kathleen Wolfe v. Ethicon, Inc., C.A. No. 6:11-00180

              Northern District of Ohio

      Judy White, et al. v. Ethicon, Inc., et al., C.A. No. 1:11-01562
      Joann Heather, et al. v. Ethicon, Inc., et al., C.A. No. 5:11-02012

              Southern District of Ohio

      Sharon Boggs, et al. v. Ethicon, Inc., C.A. No. 1:11-00516

              Eastern District of Pennsylvania

      Joanna Jacobson v. Ethicon, Inc., C.A. No. 2:11-05591
      Rose Gomez, et al. v. Ethicon, Inc., C.A. No. 2:11-05625
      Amanda Deleon, et al. v. Ethicon, Inc., C.A. No. 5:11-05538
         Case MDL No. 2326 Document 54 Filed 02/07/12 Page 14 of 14




                                             -3-


MDL No. 2327 Schedule A (Continued)


             Western District of Pennsylvania

      Deborah A. Smith v. Ethicon, Inc., C.A. No. 1:11-00279

             District of South Carolina

      Charlotte Hargrove v. Johnson & Johnson, et al., C.A. No. 2:11-03242

             Eastern District of Tennessee

      Helen Brown, et al. v. Johnson & Johnson, et al., C.A. No. 3:11-00483

             District of Utah

      Carol Dimock v. Ethicon, Inc., et al., C.A. No. 2:11-01048

             Western District of Washington

      Dawna Hankins v Ethicon, Inc., C.A. No. 2:11-01635

             Southern District of West Virginia

      Wilma Johnson v. Ethicon, Inc., C.A. No. 2:11-00809

             Eastern District of Wisconsin

      Deborah Lozano, et al. v. Ethicon, Inc., C.A. No. 2:11-00836
